                Case 7:11-po-03525 Document 1 Filed on 06/03/11 in TXSD Page 1 of 1
AO91 (Rev. 12/03) Criminal Complaint                                                AUSA

                             UNITED STATES DISTRICT COURT

                                          Southern District Of Texas McAllen Division

UNITED STATES OF AMERICA                                              CRIMINAL COMPLAINT
            vs.

Danilo LOPEZ-Ramirez                                                    Case Number: 7:11-03525
A201 297 353
IAE
Mexico YOB: 1989


         I, the undersigned complainant state that the following is true and correct to the best of my
knowledge and belief. On or about            June 02, 2011         in           Hidalgo                County, in
the                            Southern District Of Texas                           defendant(s) did,
Being then and there an alien, did, knowingly and unlawfully enter the United States at a place other
than as designated by immigration officers;




in violation of Title            8          United States Code, Section(s)              1325(a)(1)
I further state that I am a(n)              Border Patrol Agent           and that this complaint is based on the
following facts:
Danilo Lopez-Ramirez was encountered by Border Patrol Agents near Hidalgo, Texas on June 2,
2011. When questioned as to his citizenship, defendant stated that he was a citizen and national of
the United Mexican States, who had entered the United States illegally on June 2, 2011, by wading
across the Rio Grande River near the Hidalgo, Texas Port of Entry.

I DECLARE UNDER PENALTY OF PERJURY THAT THE STATEMENTS IN THIS
COMPLAINT ARE TRUE AND CORRECT.


Continued on the attached sheet and made a part of this complaint:               Yes            No

                                                                         /S/ Passement, Gerardo Border Patrol Agent
                                                                         Signature of Complainant
                                                                         Passement, Gerardo Border Patrol Agent
                                                                         Printed Name of Complainant
Sworn to before me and signed in my presence,
June 03, 2011                                                    at     McAllen, Texas
Date                                                                    City/State

Dorina Ramos                         U.S. Magistrate Judge
       Name of Judge                     Title of Judge                                 Signature of Judge
